Case 2:23-cv-10513-LJM-KGA ECF No. 46-7, PageID.2209 Filed 09/13/24 Page 1 of 6




                Exhibit F
         Case 2:23-cv-10513-LJM-KGA ECF No. 46-7, PageID.2210 Filed 09/13/24 Page 2 of 6




·1· · · · · · · · UNITED STATES DISTRICT COURT
·2· · · · · · · · EASTERN DISTRICT OF MICHIGAN
·3· · · · · · · · · · ·SOUTHERN DIVISION
·4
·5· ·DANIEL REIFF,· · · · · · Case No. 23-cv-10513-LJM-JJCG
·6· · · · · · · · · · · · · · Hon. Laurie J. Michelson
·7· ·Plaintiffs,
·8
·9· ·vs.
10
11· ·OFFICER BROC SETTY, in his individual
12· ·capacity and CLINTON TOWNSHIP,
13
14· ·Defendants.
15
16
17· · · · · · Ex. F - Dispatch Audio CTPD 21-12658
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19· · · · · · · · · · · ·*CONFIDENTIAL*
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  Case 2:23-cv-10513-LJM-KGA ECF No. 46-7, PageID.2211 Filed 09/13/24 Page 3 of 6

   DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
   F, EXHIBIT                                                                     2


·1· · · · OPERATOR:· April 2, 2021. 10:14:54.
·2· · · · DISPATCH:· Dispatch, Simpson.
·3· · · · FEMALE:· Hi, um, I am at my home right now. I
·4· ·live in Clinton Township. Um, I'm home pretty much
·5· ·every day. I just, uh, been watching these two --
·6· ·these two younger looking kids, walking. They came up
·7· ·the road, they walked through the neighbor's yard.
·8· · · · They walked behind the fence line, um, to kind of
·9· ·walk back behind the yards back there. They clearly
10· ·appear to be looking for something on the ground. But
11· ·I'm home every day and they definitely do not look
12· ·familiar and it's just -- something just doesn't seem
13· ·right.
14· · · · DISPATCH:· Okay. And, um, and what is your name?
15· ·Okay. And, uh, what is the address?
16· · · · FEMALE:· My [inaudible]. But right now they're
17· ·over, um, -- I can -- I can see 16 miles from my porch
18· ·and that's Nunneley right there. Like I can see them
19· ·over in the front yard. There's a -- like an apartment
20· ·right there. I can see them in the front yard, like
21· ·browsing around.
22· · · · DISPATCH:· Okay. And can you --
23· · · · FEMALE:· Barely.
24· · · · DISPATCH:· Can you spell the street name for me?
25· · · · FEMALE:· Um, [inaudible]. Uh, know your street,


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   DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
   F, EXHIBIT                                                                     3


·1· ·it's pretty much -- Oh, I'm sorry for --
·2· · · · DISPATCH:· Okay. All right. Okay. And, um, are
·3· ·they male or female?
·4· · · · FEMALE:· Uh, two males.
·5· · · · DISPATCH:· Okay. Uh, white, black, Hispanic?
·6· · · · FEMALE:· I can't -- I'm sorry. I -- I -- I
·7· ·honestly can't tell you.
·8· · · · DISPATCH:· Okay. Can you pick out any clothing at
·9· ·all?
10· · · · FEMALE:· Uh, they have baseball caps on. Um,
11· ·they're kind of -- I feel like they're dressed darker.
12· ·Like I can see them right now, but there's like trees,
13· ·so it's kind of blocking a little bit. But they're
14· ·definitely still over there and it -- it just -- it
15· ·doesn't seem right. And they, you know, it could be
16· ·harmless. I don't know.
17· · · · DISPATCH:· Okay. We can definitely go ahead and
18· ·have them check. And did you want to be seen at all?
19· · · · FEMALE:· No. That's, no. I would r- -- I'd rather
20· ·not.
21· · · · DISPATCH:· Okay.
22· · · · FEMALE:· I'm just kind of home by myself and so –
23· · · · DISPATCH:· That's not -- not a problem. And what
24· ·is a, uh, good callback number for you?
25· · · · FEMALE:· [Inaudible].


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      DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
      F, EXHIBIT                                                                     4


·1· · · · DISPATCH:· Okay. We'll go ahead and have them
·2· ·checked out.
·3· · · · FEMALE:· Thank you so much.
·4· · · · DISPATCH:· You're welcome.
·5· · · · FEMALE:· Bye, bye.
·6· · · · DISPATCH:· Bye, bye.
·7· · · · OPERATOR:· April 2, 2021. 10:20:26.
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      DANIEL REIFF vs OFFICER BROC SETTY                       Confidential, Job 33244
      F, EXHIBIT                                                                     5


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·2
·3· · · · I, Chris Naaden, a transcriber, hereby declare
·4· ·under penalty of perjury that to the best of my
·5· ·ability the above 4 pages contain a full, true and
·6· ·correct transcription of the tape-recording that I
·7· ·received regarding the event listed on the caption on
·8· ·page 1.
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11· · · · September 10, 2024
12· · · · Chris Naaden
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16· ·(33244, Ex. F - Dispatch Audio CTPD 21-12658)
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